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1


From: Cahill, William
Sent: Friday, May 17, 2019 2:56 PM
To: Barthel, Frederick (ORM) <Frederick.Barthel@va.gov>
Subject: RE: EEO Investigation - Statement Verification

Please see the edits below. With these changes, the statements are accurate.

From: Barthel, Frederick (ORM)
Sent: Tuesday, May 14, 2019 11:39 AM
To: Cahill, William <William.Cahill2@va.gov>
Subject: EEO Investigation - Statement Verification
Importance: High




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Kurt Barthel




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